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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NATURESWEET, LTD.,

               Plaintiff,                 CIVIL ACTION NO. 03-12-cv-1424______

vs.

MASTRONARDI PRODUCE LTD.                  Jury Trial Demanded

               Defendant.



                        PLAINTIFF’S ORIGINAL COMPLAINT

         NatureSweet, Ltd. (“NatureSweet” or “Plaintiff”) files this Original Complaint

against Mastronardi Produce Ltd. (“Mastronardi” or “Defendant”), and alleges as

follows:


I.       INTRODUCTION

         1.    The American system of free enterprise encourages and rewards creativity,

innovation, investment and hard work. That system relies on fair competition, the bounds

of which are protected by law and the Courts.

         2.    This suit is brought because the Defendant has violated the basic tenets of

fair competition by trading on the goodwill that NatureSweet now enjoys among the

consuming public for its NATURE SWEET CHERUBS brand tomatoes. That goodwill

exists as a result of NatureSweet’s innovation, investment, marketing and hard work over

many years.



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         3.   NatureSweet is a creative and innovative company.     It has developed

premium tomato products that it markets under creative and distinctive trademarks and

packaging.

         4.   NatureSweet has made significant investments in the development of its

premium products and innovative, distinctive marks and packaging to distinguish its

products from those of its competitors.

         5.   NatureSweet’s innovations have included the creation of its NATURE

SWEET CHERUBS brand tomatoes. NATURE SWEET is the house mark used on all of

NatureSweet’s products. The CHERUBS and winged grape tomato design marks are

used to identify NatureSweet’s product in the grape tomato category. NatureSweet also

uses a distinctive package design for its NATURE SWEET CHERUBS brand tomatoes.

         6.   The NATURE SWEET CHERUBS package features a distinctive yellow

base and yellow background color for the package label. The following photographs

show the NATURE SWEET CHERUBS marks and the winged grape tomato design

marks as currently used on NATURE SWEET CHERUBS brand products.




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         7.    NATURE SWEET CHERUBS brand tomatoes have had remarkable

success in the marketplace.

         8.    As a result of NatureSweet’s success in the marketplace, Defendant has

recently begun marketing its grape tomatoes under the mark ANGEL SWEET with a

winged tomato design mark. The design of the ANGEL SWEET package mimics the

distinctive CHERUBS package and features a yellow-green base and label border.

         9.    The following is (1) a photo of Defendant’s new product showing use of

Defendant’s ANGEL SWEET mark, a winged tomato design mark, and the ANGEL

SWEET package design and (2) an advertisement for the product at the United Fresh

trade show in Dallas, Texas:




         10.   Of all the possibilities, Defendant chose to imitate and trade on the

goodwill of NatureSweet’s marks in a clear effort to cause confusion with NatureSweet’s

NATURE SWEET CHERUBS brand tomatoes. Defendant has intentionally and unfairly

attempted to trade on the goodwill of NatureSweet and confuse consumers with these

marks.



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         11.   NatureSweet, its customers and American consumers are being harmed,

and will continue to be harmed, by the confusing similarity between the marks used on

Defendant’s new ANGEL SWEET grape tomatoes and the marks used on NatureSweet’s

NATURE SWEET CHERUBS brand tomatoes. The likelihood of confusion caused by

Defendant’s use of the ANGEL SWEET mark and winged tomato design is enhanced by

their use on a package design that imitates the CHERUBS package design and its yellow

color scheme.

         12.   Defendant is also packaging its ANGEL SWEET tomatoes in a package

that infringes design patents owned by NatureSweet.

         13.   NatureSweet prays that the Court enjoin Defendant from continuing this

patent and trademark infringement and Defendant’s acts of unfair competition.

II.      THE PARTIES
         14.   NatureSweet is a Texas limited partnership, having its principal office and

place of business in San Antonio, Texas.

         15.   Mastronardi is a Canadian corporation, having its principal place of

business at 2100 Road 4 East, Kingsville, Ontario N9Y 2E5, Canada.

         16.   Defendant’s tomatoes are available for sale in retail grocery stores

throughout Texas and in the Northern District of Texas.

         17.   NATURE SWEET CHERUBS brand tomatoes are also available for sale

throughout Texas and in retail grocery stores in the Northern District of Texas.




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         18.   Defendant introduced and widely promoted its new ANGEL SWEET

tomatoes to the produce industry at the United Fresh trade show held in Dallas, Texas

beginning on May 1, 2012.


III.     NATURE OF THIS ACTION

         19.   NatureSweet repeats the allegations above as if fully set forth herein.

         20.   This is an action for trademark and patent infringement, dilution, unfair

competition, and unjust enrichment under the Trademark Act of 1946, as amended,

15 U.S.C. § 1051 et seq. (hereafter, the “Lanham Act”) and the Patent Laws of the United

States, 35 U.S.C. §§ 1 et seq.

IV.      JURISDICTION OF THE COURT

         21.   NatureSweet repeats the allegations above as if fully set forth herein.

         22.   This Court has jurisdiction over the subject matter of this action under

15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, and 1338(a)-(b).

         23.   This Court has personal jurisdiction over Defendant because Defendant has

advertised, promoted, offered for sale and/or sold its infringing products in the State of

Texas and in the Northern District of Texas.

         24.   This Court also has personal jurisdiction over Defendant because

Defendant has substantial or continuous and systematic contacts with the State of Texas.

         25.   Defendant regularly conducts business in Texas, including shipping,

selling, and distributing its products in Texas.

         26.   Venue is proper in the Northern District of Texas pursuant to 28 U.S.C.

§ 1391(b).




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V.       BACKGROUND

         A.    NatureSweet and Its Business

         27.   Founded in 1990, NatureSweet pioneered the concept of providing

greenhouse grown tomatoes for broad, branded commercial distribution.

         28.   NatureSweet made its first investment in greenhouses in 1994 to grow

premium tomatoes for commercial distribution.

         29.   By growing its tomatoes in its own greenhouses, NatureSweet is able to

more accurately control quality, food safety, and environmental factors than those who

outsource their growing and harvesting operations.

         30.   Furthermore, by growing its tomatoes in its own greenhouses, NatureSweet

is able to use less water and fertilizer, and better control the impact of external forces on

growing operations, including its ability to control pests, than growers who outsource

their growing and harvesting operations.

         31.   Since NatureSweet’s growing and harvesting are 100% company owned

and managed, NatureSweet is able to closely monitor plant growth to choose the prime

moment for tomato harvest.

         32.   NatureSweet’s tomatoes are allowed to reach their peak of sweetness, size,

and flavor before they are harvested.

         33.   Only the ripest tomatoes are harvested from the vine by NatureSweet,

chosen for their color, fragrance, firmness, and weight.

         34.   NatureSweet is the only known supplier that gives grocers a guarantee of

the brix level for its tomatoes. The brix level is a measure of sweetness of the tomatoes.




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         35.   Unlike other producers who contract their tomatoes to be grown and

harvested by other growers, NatureSweet’s tomatoes are grown by the company and

directly managed by company associates. Vine-ripening and other growing methods used

by NatureSweet produce exceptional flavor and consistent quality year round.

         36.   Once the tomatoes are selected, weighed, and packed, NatureSweet’s

tomatoes are carefully placed in boxes that contain specific growing and harvesting

information for 100% product traceability.

         37.   NatureSweet’s shipping crates have been specially designed to protect the

tomato quality.

         38.   As a result of its 100% company owned and managed growing, harvesting,

and distribution processes, NatureSweet has been able to produce a truly premium

product that is distributed through major food service operations, grocers, and club stores,

and enjoyed by consumers throughout the United States.

         39.   Today, NatureSweet is the leading grower of premium fresh small

tomatoes, which it sells under the NATURE SWEET, CHERUBS, and SUNBURSTS

brands.

         40.   NatureSweet has also been innovative by developing its branded products,

in a category that was previously considered a commodity.

         41.   Through NatureSweet’s marketing and advertising campaigns, it has

created a line of branded products that are sought after and recognized by consumers.

         42.   As part of its branding strategy, NatureSweet has developed innovative and

creative trademarks to distinguish its products from those of its competitors. These




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include the NATURE SWEET, CHERUBS, SUNBURSTS, and winged grape tomato

design marks, among others.

         43.   NatureSweet also worked to develop packaging that is itself uniquely

associated with NatureSweet. As a result, NatureSweet’s product packaging, including

packaging for the CHERUBS brand, now has brand recognition among consumers.

         44.   Prior to introduction of NatureSweet’s innovative packaging, fresh fruits

and vegetables, including fresh tomatoes, were packaged and sold in clam shell

containers, similar generic packaging or were sold in bulk.

         45.   NatureSweet was the first to develop innovative package designs that are

uniquely associated with a single source.

         46.   NatureSweet has developed unique, innovative packaging for its NATURE

SWEET CHERUBS brand tomatoes registered as a trademark under U.S. Registration

No. 3,359,569, issued on December 25, 2007, and for its NATURE SWEET

SUNBURSTS brand tomatoes, registered as a trademark under U.S. Registration No.

4,014,700, issued on August 23, 2011.

         47.   To this day, NatureSweet stands alone as the only seller of tomatoes with

package designs that are themselves recognized by consumers as identifying the source of

its goods.

         B.    NATURE SWEET CHERUBS Brand Tomatoes

         48.   NatureSweet uses the house mark, NATURE SWEET, for each of its

tomato products.

         49.   Continuing with its strategy of developing and offering premium, branded

tomato products, NatureSweet developed a set of unique trademarks for its grape tomato


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product. These include the brand name CHERUBS, which is unique and arbitrary to the

tomato product category. Before NatureSweet’s marketing efforts, there was no prior

association of the word CHERUBS with a tomato product.

         50.   Following the angelic theme, NatureSweet developed a winged grape

tomato design mark that has been prominently displayed on NATURE SWEET

CHERUBS brand tomatoes.         NatureSweet’s winged grape tomato design mark is

creative, unique and fanciful. NatureSweet’s winged grape tomato design mark has

helped to develop in the minds of consumers that they can identify NatureSweet’s grape

tomatoes by these angel-themed trademarks.

         51.   NatureSweet made significant investments of time and resources prior to

introduction of its CHERUBS and winged grape tomato marks in March 2006. Since

their introduction, NatureSweet has invested very significantly in the marketing of its

products under the NATURE SWEET, CHERUBS and winged grape tomato design

marks.

         52.   Since introduction, NatureSweet has continuously used its NATURE

SWEET, CHERUBS and winged grape tomato marks in interstate commerce for its

products in the grape tomato category.

         53.   Since March 2006, NatureSweet has spent millions of dollars in its

advertising and promoting tomatoes using its NATURE SWEET, CHERUBS and winged

grape tomato design marks through a variety of means, including television advertising,

various types of print advertising, dealer promotions, consumer promotions, the Internet,

and in other ways customary to the trade.




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         54.   As a result of NatureSweet’s efforts, consumers have come to identify and

recognize the NATURE SWEET, CHERUBS and winged grape tomato design marks as

an indicator of the source of NatureSweet’s tomato products.

         55.   Sales of NATURE SWEET CHERUBS tomatoes have been approximately

$150 million in retail sales annually.

         56.   NatureSweet’s CHERUBS mark is inherently distinctive, serving to

identify and indicate the source of NatureSweet’s tomatoes to the consuming public, and

to distinguish its products from those of others.

         57.   Additionally and alternatively, as a result of NatureSweet’s extensive usage

and promotion of the CHERUBS mark, the CHERUBS mark has become distinctive to

designate NatureSweet’s tomatoes, to distinguish NatureSweet’s products from the

products of others, and to distinguish the source or origin of NatureSweet’s products.

         58.   As a result, the CHERUBS mark has become well-known and widely-

recognized by consumers in the State of Texas and throughout the United States to

indicate the source of NatureSweet’s tomatoes.

         59.   Consumers know and respect the CHERUBS mark as a symbol of quality,

premium tomatoes.

         60.   As a result of NatureSweet’s extensive usage and promotion of the

CHERUBS mark, NatureSweet has developed valuable goodwill and strong common-law

rights in the CHERUBS mark.

         61.   The CHERUBS mark is famous.

         62.   Pursuant to the Lanham Act, NatureSweet’s U.S. Registration No.

3,164,061 for the CHERUBS mark constitutes prima facie, evidence of: (a) the validity


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of the registered mark and of the registration of the mark; (b) NatureSweet’s ownership

of the mark; and (c) NatureSweet’s exclusive right to use the registered mark in

commerce. 15 U.S.C. §§ 1057(b) and 1115(a).

         63.   The registration for the CHERUBS mark is valid, subsisting, and in full

force and effect.

         64.   In addition, NatureSweet’s registration of the CHERUBS mark constitutes

constructive notice of NatureSweet’s claim of ownership of the registered mark.

15 U.S.C. § 1072.

         65.   The NATURE SWEET mark is inherently distinctive, serving to identify

and indicate the source of NatureSweet’s tomatoes to the consuming public, and to

distinguish its products from those of others.

         66.   Additionally and alternatively, as a result of NatureSweet’s extensive usage

and promotion of the NATURE SWEET mark, the NATURE SWEET mark has become

distinctive to designate NatureSweet’s tomatoes, to distinguish NatureSweet’s products

from the products of others, and to distinguish the source or origin of NatureSweet’s

products.

         67.   As a result, the NATURE SWEET mark has become well-known and

widely-recognized by consumers in the State of Texas and throughout the United States

to indicate the source of NatureSweet’s tomatoes.

         68.   Consumers know and respect the NATURE SWEET mark as a symbol of

quality, premium tomatoes.




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         69.   As a result of NatureSweet’s extensive usage and promotion of the

NATURE SWEET mark, NatureSweet has developed valuable goodwill and strong

common-law rights in the NATURE SWEET mark.

         70.   The NATURE SWEET mark is famous.

         71.   Pursuant to the Lanham Act, NatureSweet’s U.S. Registration No.

2,412,741, registered on December 12, 2000, for the NATURE SWEET mark constitutes

prima facie, evidence of: (a) the validity of the registered mark and of the registration of

the mark; (b) NatureSweet’s ownership of the mark; and (c) NatureSweet’s exclusive

right to use the registered mark in commerce. 15 U.S.C. §§ 1057(b) and 1115(a).

         72.   The registration for the NATURE SWEET mark is valid, subsisting, and in

full force and effect.

         73.   In addition, NatureSweet’s registration of the NATURE SWEET mark

constitutes constructive notice of NatureSweet’s claim of ownership of the registered

mark. 15 U.S.C. § 1072.

         74.   The registration for the NATURE SWEET mark is incontestable.

         75.   NatureSweet’s winged grape tomato design mark is inherently distinctive,

serving to identify and indicate the source of NatureSweet’s tomatoes to the consuming

public, and to distinguish its products from those of others.

         76.   Additionally and alternatively, as a result of NatureSweet’s extensive usage

and promotion of NatureSweet’s winged grape tomato design mark, NatureSweet’s

winged grape tomato design mark has become distinctive to designate NatureSweet’s

tomatoes, to distinguish NatureSweet’s products from the products of others, and to

distinguish the source or origin of NatureSweet’s products.


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         77.   As a result, NatureSweet’s winged grape tomato design mark has become

well-known and widely-recognized by consumers in the State of Texas and throughout

the United States to indicate the source of NatureSweet’s tomatoes.

         78.   Consumers know and respect NatureSweet’s winged grape tomato design

mark as a symbol of quality, premium tomatoes.

         79.   As a result of NatureSweet’s extensive usage and promotion of

NatureSweet’s winged grape tomato design mark, NatureSweet has developed valuable

goodwill and strong common-law rights in NatureSweet’s winged grape tomato mark.

         80.   NatureSweet’s winged grape tomato mark is famous.

         81.   The registration for NatureSweet’s winged grape tomato design mark is

valid, subsisting, and in full force and effect.

         82.   Pursuant to the Lanham Act, NatureSweet’s U.S. Registration No.

3,262,789, registered on July 10, 2007, for its winged grape tomato design mark

constitutes prima facie, evidence of: (a) the validity of the registered mark and of the

registration of the mark; (b) NatureSweet’s ownership of the mark; and (c) NatureSweet’s

exclusive right to use the registered mark in commerce.       15 U.S.C. §§ 1057(b) and

1115(a).

         83.   In addition, NatureSweet’s registration of its winged grape tomato design

mark constitutes constructive notice of NatureSweet’s claim of ownership of the

registered mark. 15 U.S.C. § 1072.

         C.    NatureSweet’s Design Patents

         84.   NatureSweet owns a number of United States design patents covering

various of its innovative and unique package designs.


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         85.   NatureSweet also owns the following United States design patents:

               (a)   United States Patent No. D628,478, issued on December 7, 2010, a

                     copy of which is attached as Exhibit A;

               (b)   United States Patent No. D628,479, issued on December 7, 2010, a

                     copy of which is attached as Exhibit B; and,

               (c)    United States Patent No. D640,550, issued on June 28, 2011, a

                     copy of which is attached as Exhibit C.

(collectively “the Design Patents”).


         86.   The package design for Defendant’s ANGEL SWEET product infringes

one or more of the designs that are protected by U.S. Patents D628,478, D628,479, and

D640,550.

         D.    Defendant’s Activities

         87.   Defendant is in the business of growing and distributing fresh fruits and

vegetables, including grape tomatoes.

         88.   Defendant has recently begun marketing and offering its grape tomatoes for

sale under the brand name ANGEL SWEET.

         89.   Defendant’s ANGEL SWEET tomatoes are being marketed with a winged

tomato design mark on the package label and in associated advertising.

         90.   Defendant’s ANGEL SWEET tomatoes are being marketed in a package

that mimics the distinctive CHERUBS package and features a yellow-green base and

package label border.




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         91.    Defendant’s ANGEL SWEET grape tomatoes are sold in the same or

similar channels of trade as NATURE SWEET CHERUBS brand tomatoes.

         92.    The grape tomatoes sold by Defendant are grown from a different plant

variety than NATURE SWEET CHERUBS brand tomatoes.

         93.    Because the Defendant’s products are grown and harvested by third parties

at certain times of the year, Defendant does not have 100% control of its growing,

harvesting, and distribution processes in the same way that NatureSweet has for its

NATURE SWEET CHERUBS brand tomatoes.

         94.    The grape tomatoes sold by Defendant do not have the same consistent

great taste throughout the year as NATURE SWEET CHERUBS brand tomatoes.

         95.    The grape tomatoes sold by Defendant do not have the consistency of

quality of NATURE SWEET CHERUBS brand tomatoes.

         96.    The grape tomatoes sold by Defendant are not of the same premium quality

as NATURE SWEET CHERUBS brand tomatoes.

         97.    Defendant’s ANGEL SWEET tomatoes are grape tomatoes.

         98.    Defendant’s ANGEL SWEET tomatoes are within the grape tomato

category.

         99.    Defendant’s new ANGEL SWEET brand tomatoes are being sold using

marks that are confusingly similar to NatureSweet’s NATURE SWEET, CHERUBS and

winged grape tomato marks.

         100.   The likelihood of confusion caused by Defendant’s use of the ANGEL

SWEET mark and winged tomato design is enhanced by their use by Defendant on a

package that imitates the CHERUBS package design and its yellow color scheme.


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         101.   Defendant’s ANGEL SWEET tomatoes will be sold in the same or similar

channels of trade as NATURE SWEET CHERUBS brand tomatoes.

         102.   Upon information and belief, Defendant plans to expand distribution of its

ANGEL SWEET tomatoes nationally.

         103.   Defendant’s ANGEL SWEET tomatoes are sold in the same or similar

channels of trade as NATURE SWEET CHERUBS brand tomatoes.

         104.   The ANGEL SWEET tomatoes sold by Defendant are grown from a

different plant variety than NATURE SWEET CHERUBS brand tomatoes.

         105.   The ANGEL SWEET tomatoes sold by Defendant do not have the same

consistent great taste throughout the year as NATURE SWEET CHERUBS brand

tomatoes.

         106.   The ANGEL SWEET tomatoes sold by Defendant do not have the

consistency of quality of NATURE SWEET CHERUBS brand tomatoes.

         107.   The ANGEL SWEET tomatoes sold by Defendant are not of the same

premium quality as NATURE SWEET CHERUBS brand tomatoes.

         108.   Defendant could have selected from or developed a virtually infinite

number of alternative marks for its ANGEL SWEET product which would not be

confusingly similar to the NATURE SWEET, CHERUBS and NatureSweet’s winged

grape tomato marks.

         109.   Defendant was aware of NatureSweet’s NATURE SWEET, CHERUBS,

and winged grape tomato marks before Defendant began marketing its own products with

the ANGEL SWEET mark and a winged tomato design mark.




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         110.   Defendant intentionally chose marks for its ANGEL SWEET grape tomato

product that are confusingly similar to NatureSweet’s NATURE SWEET, CHERUBS

and winged grape tomato marks, in an effort to trade on the goodwill of NatureSweet’s

hugely successful NATURE SWEET CHERUBS brand tomatoes.

         111.   Defendant intentionally selected a package design and coloring for its

ANGEL SWEET product in an effort to trade on the goodwill developed in the

distinctive packaging and coloring of the NATURE SWEET CHERUBS package.

         112.   Defendant first introduced the ANGEL SWEET product bearing the

ANGEL SWEET mark and Defendant’s winged tomato design mark in or around

April 18, 2012, well after NatureSweet’s adoption of NatureSweet’s NATURE SWEET,

CHERUBS and winged grape tomato marks, and the filing date of NatureSweet’s

registrations for each of these trademarks.

         113.   Defendant’s use of the mark ANGEL SWEET, and Defendant’s winged

tomato design mark, began well after NatureSweet’s NATURE SWEET, CHERUBS and

winged grape tomato marks had acquired secondary meaning.

         114.   Defendant’s use of the mark ANGEL SWEET, and Defendant’s winged

tomato design mark, began well after NatureSweet’s NATURE SWEET, CHERUBS and

winged grape tomato marks had acquired fame among consumers.

         115.   Defendant was aware of NatureSweet’s NATURE SWEET, CHERUBS

and winged grape tomato marks before it began use of the ANGEL SWEET mark and

Defendant’s winged tomato design mark.

         116.   Defendant was aware of NatureSweet’s NATURE SWEET, CHERUBS

and winged grape tomato marks before it began advertising, promoting and offering its


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ANGEL SWEET product bearing the ANGEL SWEET mark and Defendant’s winged

tomato design mark for sale.

         117.   Defendant’s commercial use of the ANGEL SWEET mark and Defendant’s

winged tomato design mark is in interstate commerce and is without the permission or

authority of NatureSweet.

         118.   Defendant’s ANGEL SWEET and Defendant’s winged tomato design

marks are a reproduction, copy, or colorable imitation of NatureSweet’s NATURE

SWEET, CHERUBS and winged grape tomato marks.

         119.   Defendant’s unauthorized commercial use of the ANGEL SWEET and

Defendant’s winged tomato design marks for grape tomatoes is likely to cause confusion,

or to cause mistake, or to deceive consumers and potential consumers of NatureSweet

and Defendant as to the affiliation, connection, or association of Defendant with

NatureSweet, or as to origin, sponsorship or approval of Defendant’s goods, or

commercial activities of NatureSweet. This likelihood of confusion is increased by

Defendant’s use of those marks on a package that imitates the CHERUBS package design

and its yellow color scheme.

         120.   Defendant’s unauthorized use of the ANGEL SWEET and Defendant’s

winged tomato design marks falsely indicates to the purchasing public that Defendant, its

business, and its goods or services originate with NatureSweet, or are affiliated,

connected, or associated with NatureSweet, or are sponsored, endorsed, or approved by

NatureSweet, or are in some manner related to NatureSweet or its goods and services.

This false indication to the purchasing public is increased by Defendant’s use of those




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marks on a package that imitates the CHERUBS package design and its yellow color

scheme.

         121.   Defendant’s unauthorized use of the ANGEL SWEET and Defendant’s

winged tomato design marks falsely designates the origin of Defendant’s goods, and

falsely or misleadingly describes and represents facts with respect to Defendant and its

goods. This false designation is increased by Defendant’s use of those marks on a

package that imitates the CHERUBS package design and its yellow color scheme.

         122.   Defendant’s unauthorized use of the ANGEL SWEET and Defendant’s

winged tomato design marks is likely to cause dilution of NatureSweet’s NATURE

SWEET, CHERUBS and winged grape tomato marks. This likelihood of dilution is

increased by Defendant’s use of those marks on a package that imitates the CHERUBS

package design and its yellow color scheme.

         123.   Defendant’s unauthorized use of the ANGEL SWEET and Defendant’s

winged tomato design marks enables Defendant to trade on and receive the benefit and

goodwill built up at great labor and expense by NatureSweet, and to gain acceptance for

Defendant’s goods based on the reputation and goodwill of NatureSweet, its goods, and

NatureSweet’s NATURE SWEET, CHERUBS and winged grape tomato marks.

         124.   Defendant’s unauthorized use of the ANGEL SWEET and Defendant’s

winged tomato design marks enables Defendant to palm off its goods on the unsuspecting

public as those of NatureSweet.

         125.   Defendant’s unauthorized use of the ANGEL SWEET mark and

Defendant’s winged tomato design mark removes from NatureSweet the ability to control

the nature and quality of goods and services associated by consumers with its marks, and


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places the valuable reputation and goodwill of NatureSweet in the hands of Defendant,

over whom NatureSweet has no control.

         126.   As a result of Defendant’s unauthorized use of the ANGEL SWEET mark

and Defendant’s winged tomato design mark, Defendant is being unjustly enriched at the

expense of NatureSweet and the public.

         127.   Defendant has damaged NatureSweet’s goodwill and reputation and is

continuing to damage NatureSweet’s goodwill and reputation by its illegal acts. Unless

Defendant is restrained by this Court, Defendant will continue to cause irreparable injury

to NatureSweet and the public for which there is no adequate remedy at law.

         E.     Willful Nature of Defendant’s Wrongful Acts

         128.   Defendant’s acts complained of herein have been deliberate, willful,

intentional, and in bad faith, with full knowledge and conscious disregard of

NatureSweet’s rights.

         129.   Defendant’s intentional promotion of its products with its copycat marks

that are confusingly similar to NatureSweet’s NATURE SWEET, CHERUBS and

winged grape tomato marks amounts to a fraud on the public.

         130.   In view of the egregious nature of Defendant’s actions, this is an

exceptional case within the meaning of Section 35(a) of the Lanham Act, 15 U.S.C.

§ 1117(a).

                                          COUNT I

                      FEDERAL TRADEMARK INFRINGEMENT

         131.   NatureSweet repeats the allegations above as if fully set forth herein.




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         132.   The acts of Defendant complained of herein constitute trademark

infringement, use in commerce of a reproduction, copy, or colorable imitation of

NatureSweet’s federally registered marks on or in connection with the sale, offering for

sale, distribution, or advertising of goods or services in violation of 15 U.S.C. § 1114(1).

         133.   NatureSweet has been damaged by Defendant’s acts in violation of

15 U.S.C. § 1114(1).

         134.   In view of the nature of Defendant’s acts in violation of 15 U.S.C.

§ 1114(1) complained of herein, and/or Defendant’s willfulness and bad faith, this is an

exceptional case within the meaning of 15 U.S.C. § 1117(a).

                                          COUNT II

                                   FEDERAL DILUTION

         135.   NatureSweet repeats the allegations above as if fully set forth herein.

         136.   The acts of Defendant complained of herein constitute dilution by

tarnishment of the distinctive quality of NatureSweet’s NATURE SWEET, CHERUBS

and winged grape tomato marks, in violation of the Federal Trademark Dilution Act,

15 U.S.C. § 1125(c).

         137.   The acts of Defendant complained of herein constitute dilution by blurring

of the distinctive quality of NatureSweet’s NATURE SWEET, CHERUBS and winged

grape tomato marks, in violation of the Federal Trademark Dilution Act, 15 U.S.C.

§ 1125(c).

         138.   NatureSweet has been damaged by Defendant’s acts of federal trademark

dilution.




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         139.   Defendant acted with willful intent to trade on the recognition of

NatureSweet’s NATURE SWEET, CHERUBS and winged grape tomato marks.

         140.   Defendant acted with willful intent to harm the reputation of NatureSweet’s

NATURE SWEET, CHERUBS and winged grape tomato marks.

                                         COUNT III:

                          FEDERAL UNFAIR COMPETITION

         141.   NatureSweet repeats the allegations above as if fully set forth herein.

         142.   The acts of Defendant complained of herein constitute trademark

infringement, use in commerce of false designations of origin, false or misleading

descriptions or representations of fact on or in connection with goods or services, and

unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         143.   NatureSweet has been damaged by Defendant’s acts in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) complained of herein.

         144.   The nature of Defendant’s acts in violation of Section 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a) complained of herein and/or Defendant’s willfulness and bad

faith, make this an exceptional case under 15 U.S.C. § 1117.

                                         COUNT IV:

                                 UNJUST ENRICHMENT

         145.   NatureSweet repeats the allegations above as if fully set forth herein.

         146.   Defendant has been and continues to be unjustly enriched at the expense of

NatureSweet by Defendant’s acts complained of herein.

         147.   NatureSweet has been damaged by Defendant’s acts of unjust enrichment.




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                                         COUNT V:

                          DESIGN PATENT INFRINGEMENT


         148.   NatureSweet repeats the allegations above as if fully set forth herein.

         149.   NatureSweet owns United States Patents D628,478,              D628,479, and

D640,550.

         150.   Without a license, Defendant has applied one or more of the patented

designs of United States Patents D628,478,          D628,479, and D640,550, or colorable

imitations thereof, to its ANGEL SWEET package for the purpose of sale.

         151.   In the eye of an ordinary observer, giving such attention as a purchaser

usually gives, the package design for Defendant’s ANGEL SWEET product substantially

resembles one or more designs covered by United States Patents D628,478, D628,479,

and D640,550.

         152.   Accordingly, Defendant’s manufacture, use, sale and offer to sell the

package design for Defendant’s ANGEL SWEET product infringes one or more of the

designs that are protected by U.S. Patents D628,478, D628,479, and D640,550 under 35

U.S.C. §271(a).

         153.   NatureSweet is entitled to damages under 35 U.S.C. §§ 284 and 289 for

Defendant’s infringement of the Design Patents.

         154.   NatureSweet has no adequate remedy at law for Defendant’s infringement

and will be irreparably harmed if Defendant is not enjoined from infringing United States

Patents D628,478, D628,479, and D640,550.

                                      JURY DEMAND

         NatureSweet demands a jury trial in accordance with FED.R.CIV.P. 38(b).


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                                         PRAYER

         WHEREFORE, NatureSweet requests entry of judgment against Defendant as

follows:

         1.   That Defendant, its affiliates, subsidiaries, related companies, and all those

acting in concert or participation with them be preliminarily and permanently enjoined

and restrained from:

              (a)      using the ANGEL SWEET mark and/or Defendant’s winged tomato

                       design mark or any other marks that are likely to cause confusion

                       with or are likely to dilute NatureSweet’s NATURE SWEET,

                       CHERUBS and/or winged grape tomato marks;

              (b)      making, using, selling or offering to sell any package design that

                       infringes United States Patents D628,478, D628,479, and D640,550,

                       or that resembles the patented designs or is a colorable imitation

                       thereof;

              (c)      otherwise competing unfairly with NatureSweet in any manner,

                       including, without limitation, (i) unlawfully adopting or infringing

                       upon NatureSweet’s NATURE SWEET, CHERUBS and/or winged

                       grape tomato marks; (ii) adopting or using any other packaging

                       design that is likely to cause confusion with NatureSweet’s

                       NATURE SWEET, CHERUBS and/or winged grape tomato marks

                       or that infringes United States Patents D628,478, D628,479, and/or

                       D640,550.; and/or (iii) adopting or using any package design that is




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                     likely to dilute the distinctive quality of NatureSweet’s NATURE

                     SWEET, CHERUBS and/or winged grape tomato marks;

              (d)    committing any acts or making any statements calculated, or the

                     reasonably foreseeable consequence of which would be, to infringe

                     or likely to dilute NatureSweet’s NATURE SWEET, CHERUBS

                     and/or winged grape tomato marks, or to confuse, mislead, or

                     deceive consumers as to the affiliation, connection, or association of

                     Defendant with NatureSweet or as to the origin, sponsorship, or

                     approval of Defendant’s goods or commercial activities by

                     NatureSweet; and

              (e)    conspiring with, aiding, assisting or abetting any other person or

                     business entity in engaging in or performing any of the activities

                     referred to in subparagraphs (a), (b) and (c) above;

         2.   That, Defendant, its affiliates, subsidiaries, related companies, and all those

acting in concert or participation be ordered to:

              (a)    remove from all websites any depiction of references to the ANGEL

                     SWEET mark and/or Defendant’s winged tomato design mark;

              (b)    remove from all websites any depiction of the infringing package

                     design;

              (c)    recall and destroy and provide proof to the Court of recall and

                     destruction (or recall and deliver to the Court for destruction) all

                     packaging consisting of the ANGEL SWEET mark and/or




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                     Defendant’s winged tomato design mark and/or any design that

                     infringes the Design Patents; and

              (d)    destroy and provide proof of destruction to the Court (or deliver to

                     the Court for destruction) any and all advertising or promotional or

                     other materials pertaining to the ANGEL SWEET mark and/or

                     Defendant’s winged tomato design mark and all product bearing the

                     ANGEL SWEET mark and/or Defendant’s winged tomato design

                     mark, regardless of the medium on which such advertising,

                     promotional, or other materials are contained;

         3.   That Defendant be required to file with this Court and to serve upon

NatureSweet within thirty (30) days after the entry and service on Defendant of an

injunction, a report in writing and under oath setting forth in detail the manner and form

in which Defendant complied with the injunction;

         4.   That Defendant be required to account for, and turn over to NatureSweet,

all profits realized as a result of its infringement and other unlawful acts, such award of

profits to be increased as the Court finds just under the circumstances of this case;

         5.   That NatureSweet be awarded its actual damages and that said damages be

trebled;

         6.   That NatureSweet be awarded its damages for infringement of its design

patents, in no event less than a reasonable royalty, and for all such other damages,

including Defendants profits, as authorized under 35 U.S.C. §§ 284 and 289.

         7.   That NatureSweet be awarded its attorney’s fees pursuant to 15 U.S.C.

§ 1117(a), 35 U.S.C. §285, or other applicable law;


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         8.    That NatureSweet be awarded its costs of this action, and prejudgment and

post-judgment interest;

         9.    That NatureSweet be awarded exemplary damages; and

         10.   That NatureSweet be granted such other and further relief, at law or in

equity, as the Court may deem just and proper.


         DATED THIS 8th day of May, 2012.

                                                    Respectfully submitted,

                                                    /s/ Jeff Richardson
                                                    J. Jeffery Richardson
                                                    jrichardson@fulbright.com
                                                    Texas Bar No. 16864450

                                                    FULBRIGHT & JAWORSKI
                                                    L.L.P.
                                                    2200 Ross Avenue, Suite 2800
                                                    Dallas, Texas 75201-2784
                                                    Telephone: 214-855-8000
                                                    Facsimile: 214-855-8200

                                                    COUNSEL FOR PLAINTIFF
                                                    NATURESWEET, LTD.




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